NOCONA COTTON SEED OIL COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Nocona Cotton Seed Oil Co. v.  CommissionerDocket No. 97526.United States Board of Tax Appeals42 B.T.A. 1172; 1940 BTA LEXIS 891; November 8, 1940, Promulgated *891  Petitioner's entire physical property was sold to an individual, acceptable title being perfected by sale under a trustee's deed to the president of the creditor and reconveyance to the purchaser.  Creditor's president paid creditor, other indebtedness, and taxes and still holds the balance for petitioner's stockholders.  Held, on the facts, that the creditor's president was trustee for petitioner and stockholders, and the sale was not to him, but to his transferee; held, further, that petitioner has not shown excessive deduction of depreciation in prior years; held, further, that conveyance to the creditor's president was not distribution in liquidation, and that petitioner is not entitled to credit under section 26(c)(2), nor to dividends paid credit under section 27, Revenue Act of 1936.  Harry C. Weeks, Esq., and R. B. Cannon, Esq., for the petitioner.  Frank B. Schlosser, Esq., for the respondent.  DISNEY*1172  There is involved in this proceeding income and excess profits taxes for the taxable year ended May 31, 1938.  Deficiencies were determined by the respondent as follows: income tax, $908.23; excess profits tax, $85.84. *892  The petitioner contends that no deficiencies are owing and that *1173  overpayment of taxes has been made in the amount of $2,719.72.  From evidence submitted, we made the following findings of aact.  FINDINGS OF FACT.  1.  Petitioner is a corporation organized under the laws of Texas in 1916, and having its office at Nocona, Texas, where, during the taxable year ended May 31, 1938, it was engaged in the business of operating a cottonseed oil mill.  It filed its return for the taxable year with the collector for the second Texas collection district at Dallas, Texas.  It owned its plant and the land upon which it was located.  The operation of a cottonseed oil mill is seasonal and petitioner's plant was operated only from three to four months each year.  2.  On August 15, 1922, the petitioner executed to the Farmers &amp; Merchants National Bank of Nocona, Texas, two promissory notes of a total amount of $23,000, the latter maturing August 15, 1923, and as security therefor a mortgage deed of trust was executed on August 31, 1922, naming G. H. Fooshee as trustee.  The deed of trust covered petitioner's physical properties, including machinery and equipment.  3.  The indebtedness*893  of August 15, 1922, had been only partially paid on August 7, 1936, and on that date petitioner executed another deed of trust to G. H. Fooshee as trustee for the Farmers &amp; Merchants National Bank of Nocona, Texas (hereinafter called the bank), securing a promissory note dated August 6, 1936, for $14,900, maturing January 1, 1937.  4.  During 1937 the bank began to press for payment of the note An offer of $26,000 for petitioner's assets was made about August 1937, by P. A. Norris.  On August 31, 1937, the stockholders of petitioner made and adopted the following resolution: WHEREAS, P. A. Norris Interests have offered the sum of Twenty Six Thousand ($26,000.00) Dollars for the physical property of this Company, the mill and land upon which it is located, AND WHEREAS, we believe that the offer should be accepted THEREFORE, be it resolved that the directors of this company meet on September First, 1937, and close the trade with said Norris upon such basis as they may see fit, as to the payment of the full consideration, and we do hereby ratify and confirm any and all acts done by the said directors on that date.  We further ratify and confirm the resolution of date August 31, 1937, in*894  which we appoint C. McCall as Trustee to close the trade and to represent the stockholders in the matter of liquidating the companies [sic] indebtedness and pay off its debts and to hold the remaining cash on hand for the benefit of the stockholders.  5.  A written contract of sale was entered into, but the proposed purchaser refused to accept conveyance.  C. McCall, who was president of the bank and vice president of petitioner and owned 40 percent of petitioner's stock, then suggested to the attorney for the proposed purchaser that the property be sold under the deed of trust; the attorney said that if McCall would purchase at such sale, and execute a *1174  warranty deed to the purchaser, it would be accepted.  On September 10, 1937, one W. E. Benson was by the bank substituted as trustee, under power given in the trust deed.  The instrument of substitution was executed by C. McCall as president of the bank.  Benson on the same day, and under power conferred by the trust deed, gave notice of sale at public auction under the trust deed, to be held on October 5, 1937, in satisfaction of $9,920 principal and interest.  Public notice of the sale was given by posting for*895  three weeks prior to the sale.  On October 5, 1937, the property was sold at public auction to C. McCall for $6,000, and trustee's deed was executed to him and recorded on October 5, 1937.  McCall then transferred the property to P. A. Norris for $26,000, paying $1,000 brokerage.  About October 9, 1937, he drew a draft on P. A. Norris for $26,000, and on October 9, 1937, the First National Bank in Dallas, Texas, credited the account of the Farmers &amp; Merchants National Bank of Nocona, Texas, with $26,000 for use of C. McCall.  With the funds so received, McCall paid the note, about $9,920, being $8,900 and interest, paid to the bank $13,070.89 bills of exchange for cottonseed purchased by the petitioner, and interest, paid some other small bills, paid the income taxes of petitioner in the amount of $2,719.92 on July 12, 1938, and still has some money to be paid to petitioner's stockholders.  The deed of trust did not secure the payment for seed, but it was understood between the bank and petitioner that payment therefor could be made from the proceeds of the sale.  The sale under the deed of trust was for the purpose of perfecting title so that Norris would accept it.  In purchasing*896  the property at the sale and selling it to Norris, McCall was acting for petitioner and its stockholders.  6.  A return was filed for the petitioner on January 28, 1938.  It was accompanied by a letter stating, in part, that the stockholders are anxious to receive the small amount of cash remaining on hand, and further reciting: Therefore, will you be kind enough to put this return in line for an immediate examination to the end that the closing agreement, form 606, may be executed and the final distribution of the Corporation [sic] Assets accomplished as early as is possible.  Thanking you for your immediate attention to this matter, we beg to remain, Yours very truly, NOCONA COTTON SEED OIL COMPANY [Signed] C. C. LITTLETON, C. C. Littleton, President.By [Signed] W. A. ROSS, W. A. ROSS, Secy.-Treas.The return was made on the accrual basis, and bears the notation that it was prepared without audit and on advice of the president of the corporation as to value of building, machinery, and equipment sold, the *1175  appraised "cost or other basis" of which was shown as $64,582.30 with a net sales price of $25,000, resulting in a capital*897  loss of $39,582.32.  A note recites that the net appraisal value was taken on advice of a Treasury Department representative.  The return listed a net loss of $7,048.16 and a balance sheet showing capital assets, machinery, and equipment at the beginning of the taxable year of $49,883.68, less reserve for depreciation of $43,445.45, net $6,438.23, and land of $1,000.  No depreciation was set up or claimed.  7.  On July 11, 1938, another return was transmitted for filing by C. McCall, with a letter stating, in part, that the previous report contained errors, enclosing a check for $2,719.72 in payment of tax liability, and further stating: Inasmuch as I desire to pay to the Stockholders such funds of theirs as I may have after final payment of the Federal Tax, will you be kind enough to have this return examined immediately.  Yours very truly, NOCONA COTTON SEED OIL CO.  By [Signed] C. MCCALL This return had attached to it a copy of the resolution of the stockholders of petitioner, dated August 31, 1937, above set forth herein.  It listed a net income of $11,366.33, resulting from a total capital gain of $17,358.50, less deductions of $5,992.17.  The capital gain is shown*898  as resulting from a sale for $25,000 net of "Buildings, Machinery, Equipment, etc." with a "Cost or Other Basis" of $51,850.66, and depreciation "Allowed (or allowable)" of $44,209.16.  The balance sheet attached shows at the beginning of the year capital assets, buildings, machinery, and equipment, etc., of $49,883.68, less reserve for depreciation $43,445.45, net $6,438.23, and land $1,000.  Under the heading of "Distributions to Stockholders and Dividends Paid Credit" appears the item: "Cash held by C. McCall, Trustee, for Stockholders per resolution August 31, 1937 - $4,445.02" and a dividends paid credit in that amount is claimed.  Depreciation items for the taxable year of $715.36 on buildings, machinery, and equipment, and $48.35 on a scale, were claimed on the depreciable items listed, amounting to $50,850.66.  8.  Returns filed by the petitioner for the years ending on May 31 showed net losses and depreciation deductions (in addition to other expenses) as follows: YearNet lossDepreciation deduction1933$8,907.96$2,674.38193441.992,674.2819356,114.062,489.1819366,734.45715.3619374,933.98None*1176  OPINION.  *899  DISNEY: The respondent determined the deficiencies above stated by adding to the $11,366.33 net income reported the item of $715.36, because of the depreciation sustained during the taxable year ended May 31, 1937, but not taken into consideration in determining the gain from the sale shown by the return, thus arriving at a capital gain of $18,073.86, instead of $17,358.50; and by determining an adjusted undistributed net income of $9,522.38 subject to surtax.  Petitioner avers that there was error in the determination of deficiency in that there was no capital gain, but a loss, contending that the petitioner sold for $6,000, and that the depreciation taken in earlier years and used in the return and by the Commissioner in calculating profit or loss was excessive.  It further alleges a right to a credit due to payment of the sales price to the bank under a written contract executed prior to May 1, 1936.  Upon brief it contends also that the conveyance of the assets was one in liquidation, resulting in no gain, and finally that, since McCall held 40 percent of petitioner's stock, it is entitled to a dividends paid credit for 40 percent of the amount of funds going into McCall's hands. *900  1.  The first question for our determination is the amount which petitioner received for the property sold.  If petitioner received only $6,000 as it contends, there would be loss instead of gain in the transaction, on the theory of either party, and hence no further question for solution.  Whether petitioner received $6,000, or $26,000 (net $25,000 after payment of $1,000 commission) depends upon the status of C. McCall and his relation to petitioner in the transaction.  The petitioner contends that McCall was not trustee for it, or its stockholders, that the sale was an arm's length sale at public auction for $6,000, resulting in a loss to it, and that McCall in disposing of the $26,000 received by him acted only for the bank.  We think the record contradicts such conclusion.  Though there is some evidence that the stockholders' resolution designating McCall as trustee for them was not participated in by him, that he made no agreement with them, and that the original agreement terminated because the proposed purchaser refused to take title from the petitioner, thus ending any trusteeship by McCall, the matter proceeding as an arm's length sale under the trustee's deed; nevertheless*901  McCall's further testimony and other facts of record convince us that he was trustee for petitioner and its stockholders.  He testified that the trustee's sale was merely to perfect the title so that the Norris people would take it and that he represented both the bank and petitioner's stockholders.  The resolution of August 31, 1937, shows Norris to be the proposed purchaser in the transaction as to which McCall was designated trustee; and Norris did in fact purchase.  The second return for the taxable year here involved, which McCall transmitted by letter, recites that $4,445.02 cash was being *1177  "held by C. McCall, Trustee, for Stockholders per resolution August 31, 1937." (Italics supplied.) Though the return was not signed by him, his letter of transmission recites that "We" are enclosing the return, and refers to C. C. Littleton, petitioner's president, who signed the return, and a copy of the resolution of August 31, 1937, is attached.  We think McCall was familiar with the return and that it represents his view as well as that of the officers of petitioner.  Moreover, the fact is that McCall still holds money for petitioner's stockholders, and his letter recites*902  that, after paying the Federal tax, he wishes to pay them their remaining funds.  He paid, out of the $25,000 from the sale, not only for cottonseed purchased by petitioner, which was not covered by the deed of trust, but other bills for petitioner.  Had McCall purchased the property for $6,000 at an arm's length sale, he would have had no duty of paying petitioner's debts.  In such case the trustee under the deed would have had the duty of applying the $6,000 in part satisfaction of the debt of $8,900 and interest, and the balance would have remained unpaid by the petitioner, unless it had other property, which appears not to be the case.  We think it plain that McCall acted as trustee for petitioner and stockholders and that the petitioner received $25,000 net for its property.  We so hold.  2.  Was any profit realized upon $26,000 received, after paying $1,000 commission?  The petitioner's amended return, on the accrual basis, introduced by respondent showed an original basis of $50,850.66 (without land valued at $1,000) and a reserve for depreciation of $43,445.45 with only $7,405.21 remaining cost or other basis to be recovered.  This would, of course, upon the above determined*903  sales price of $26,000 show a large capital gain, and petitioner's return itself, therefore, lists a capital gain of $17,358.50 (which respondent increased by $715.36 because of petitioner's failure to consider that amount of depreciation).  To this the petitioner's answer and contention is, in effect, that in its return it committed error, in that in fact the depreciation set up was excessive, leaving to it a greater base, and that, for the years 1933 to 1937, the petitioner had net losses instead of income against which to charge the depreciation taken under principles announced in . Assuming, without here considering, the correctness of the principle announced in that case, we do not find in the record as to the years 1933 to 1937, sufficient evidence to cause its application, for all that the record before us shows is that the petitioner filed returns for 1933 to 1937 showing net losses, and depreciation deductions charged off, as above shown in the findings of fact.  This of course does not prove the facts shown in such returns.  It is in evidence, moreover, that expense amounts not shown, other than*904  the depreciation deductions, entered into the computation of net losses, and we have no evidence as to whether such expenses were, or were not, in fact, incurred or allowed or disallowed by the Commissioner.  *1178  In other words, we do not know that in fact the depreciation items did not offset taxable income, which showing is required by the Pittsburgh Brewing Co. case, if they are to be held not "allowed." The petitioner argues that whether the Commissioner disallowed items so as to affect the net losses relied upon to show that the depreciation items were not "allowed" was for the respondent to show, he having known in advance of petitioner's contention and having had the returns in question at trial.  He cites cases as to failure to produce evidence readily available.  But such principle did not require the respondent to prove what was petitioner's burden.  Petitioner also relies upon the fact of the determination by the Commissioner of depreciation of $715.36 for the year 1937, as proving that for the years 1933 to 1937 the reasonable allowance was not more than that amount per year.  It does not follow from this that the actual depreciation was the same in earlier*905  years.  . The same case, citing , holds that "A contemporaneous estimate of depreciation, made by a manufacturer with respect to his own machinery, and entered on his books, is some evidence of its correctness." Here we have petitioner reporting, in 1937, a depreciation reserve of $43,445.45 and remaining cost to be recovered of only $6,438.23.  Obviously this, assumedly the bona fide judgment of petitioner, should not without convincing reason be found not to prevail, particularly as to the earlier years, against the respondent's figure of $715.36 for 1937.  As to the years prior to 1933, the evidence is even less effective.  We have, in effect, only the fact that in 1937 there was an accumulated operating loss of $56,911.31, without information as to what in particular, or what years, contributed thereto.  Nor can the evidence that the plant was used only three or four months per year, and repairs and replacements made, be considered to prevail.  These items were charged to expense, and are not shown to be other than ordinary repairs.  No more can be said for the*906  fact that the plant was sold for $26,000.  The fact that the plant was kept in repair and the corporation was a going concern may well have influenced the purchaser.  We consider this evidence insufficient to meet petitioner's burden to show excessive depreciation taken in former years, and hold that it has not proven such excessive deduction of depreciation as to require readjustment of the basis determined upon sale in the taxable year as reported by petitioner and determined by the respondent.  3.  The next problem presented is, whether the conveyance to C. McCall on October 5, 1937, was a sale giving rise to recognizable gain or loss.  Petitioner in the alternative says that it was not, but was a distribution of assets in liquidation.  Though stated, this contention is not argued.  We have held that C. McCall was trustee for petitioner's stockholders.  Conveyance to him was not by way of distribution *1179  in liquidation.  He has not yet distributed to the stockholders the proceeds of the sale.  4.  Next we consider whether petitioner is entitled to a credit under section 26(c)(2) of the Revenue Act of 1936, 1 on the theory that the sale of the petitioner's assets provided*907  a credit under the words of that statute "An amount equal to the portion of the earnings and profits of the taxable year which is required (by a provision of a written contract executed by the corporation prior to May 1, 1936, which provision expressly deals with the disposition of earnings and profits of the taxable year) to be paid within the taxable year in discharge of a debt." Though agreeing upon brief that the contract evidenced by the trust deed did not require, so long as petitioner retained the ownership of the property, that it set aside or pay out of its current earnings any specific sum, with the possible exception of interest, petitioner argues that as soon as the property was sold, the entire proceeds of sale was required by the trust deed to be paid over (to the amount necessary) to the bank and applied on the indebtedness; and that thus the facts here involved comply with the statutory requirement that earnings and profits be paid in discharge of a debt.  Petitioner says that its only gross income, if any, was from the sale of the assets, that "practically the entire amount of these proceeds were required to be and were paid over to the bank", and that therefore credit*908  is due.  Even assuming the correctness of the theory, the record shows, however, that out of the $26,000 only about $9,000 was paid to the bank under the deed of trust, or its written provisions.  The payment of about $13,000 (for cottonseed purchased) is not shown to have been under a written contract, or one executed prior to May 1, 1936.  On the contrary, McCall testified: Q I will ask you what agreement, if any, existed between the bank and the mill with respect to the deed advances as to whether they were to be secured by this deed of trust?  A Well, probably I was securing the bank more than anything else.  I don't know that the deed of trust would have secured those seed, but it was willing to, and understood it could be paid.  This tends to show payment under some sort of oral and apparently contemporaneous agreement.  An oral agreement is not sufficient.  *1180  Certainly one in writing is not shown.  . To the extent of payment for cottonseed, plainly petitioner can not rely on section 26(c)(2).  *909  Considering then the amount covered by the trust deed: Upon brief the respondent refers to the amount paid the bank as in satisfaction of an ordinary debt "of long standing" and seems therefore to make no contention that the contract involved was not executed prior to May 1, 1936.  We so assume.  Was there, under such contract, paid to the bank an amount entitling petitioner to credit under the statute above quoted?  We think not.  There was no measurement of the payment to be made by the earnings and profits of the petitioner.  The contractual provisions do not, within the language of , cited by petitioner "inevitably require in their performance a drawing on current earnings, thus removing current earnings as a source of dividend payments." In that case the bank was by the contract assigned the properties with right to collect the entire income therefrom and apply the entire amount on the debt.  Here there is only the usual provision for sale upon default of property mortgaged.  The contract did not, as petitioner argues, require that all or "practically all" proceeds of the sale be paid to the bank, and thereby include "all*910  earnings and profits." In fact, only about $9,000 out of $26,000 proceeds of sale was so paid.  The balance was payable to the petitioner, so far as the written contract was concerned, and even after about $13,000 had been paid to the bank under a separate and apparently oral understanding for seed purchased, the remainder was held for the petitioner, or its stockholders.  No amount "equal to a percentage of earnings and profits" was required by the trust deed to be paid or set aside.  We conclude and hold that such a contract is not within the purview of section 26(c)(2) of the Revenue Act of 1936.  5.  The petitioner lastly argues in the alternative that, since C. McCall owned 40 percent of the stock of petitioner, therefore to the extent of 40 percent of the assets or property received by him, and subject to his command, a credit should be allowed in computing surtax on undistributed adjusted net income.  We think such contention is untenable.  Apparently the theory is based on section 27 of the Revenue Act of 1936.  Subsection (g) thereof provides that a dividends paid credit can not be allowed unless the distribution is pro rata, equal in amount and with no preference to any*911  share of stock as compared with other shares of the same class.  McCall alone could not be the subject of a dividends paid credit.  Moreover, no dividend has been paid or distributed to the stockholders.  We hold that petitioner is not entitled to dividends paid credit.  Finding no error in the determination of the deficiencies involved, Decision will be entered for the respondent.Footnotes1. (c) CONTRACTS RESTRICTING PAYMENT OF DIVIDENDS. - * * * (2) DISPOSITION OF PROFITS OF TAXABLE YEAR. - An amount equal to the portion of the earnings and profits of the taxable year which is required (by a provision of a written contract executed by the corporation prior to May 1, 1936, which prov sion expressly deals with the disposition of earnings and profits of the taxable year) to be paid within the taxable year in discharge of a debt, or to be irrevocably set aside within the taxable year for the discharge of a debt; to the extent that such amount has been so paid or set aside.  For the purposes of this paragraph, a requirement to pay or set aside an amount equal to a percentage of earnings and profits shall be considered a requirement to pay or set aside such percentage of earnings and profits.  As used in this paragraph, the word "debt" does not include a debt incurred after April 30, 1936. ↩